               Case 2:24-cv-04027-SIL Document 6 Filed 06/07/24 Page 1 of 6 PageID #: 75

AO 440 (Rev. 06/ 12) SUllllllons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District of New York

                                                                    )
                                                                    )
   Yehuda (Jay) Adams, Individually                                 )
                                                                    )
                               Plaintijf(s)
                                                                    )
                                                                    )
MENAHEM MENDAL BANOrwa/kta MENDAL
                                                                    )       Civil Action No. 2 :24-cv-4027-SIL
SANON, Individually, STEPHANIE ESTER
BANON, a/k/a ESTER BAN ON, Individually, and                        )
PUR TECHNOLOGIES, INC., a Florida                                   )
Corporation                                                         )
                                                                    )
                              Defendant(s)                          )

                                                     SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address)
   MENAHEM MENDAL BANON, a/k/a MENDAL
   BANON
   608 88th St.
   Surfside, FL 33154

           A lawsuit has been filed against you.

        Within 21 days after service of this smnmons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Eecl. R. Civ.
P. 1 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                  Eric S. Landau
                  Law Office of Eric S. Landau
                  50 Fountain Plaza
                  Suite 1400
                  Buffalo, NY 14202
                  718-440-6723
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                              CLERK OF COURT

          6/7/2024
Date:
                                                                                        Signature ofClerk or Deputy Clerk
               Case 2:24-cv-04027-SIL Document 6 Filed 06/07/24 Page 2 of 6 PageID #: 76

AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-04027-SIL

                                                        PROOF OF SERVICE
                       (This sectio11 should 11ot befiled with the court u11less required by F ed. R. Civ. P. 4 (1))

           This summons for (name ofindividual and title, if any)
 was received by me on (date)

           D I personally served the summons on the individual at (place)
                                                                                 on (date}                            ; or

           D I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date}                                , and mailed a copy to the individual's last known address; or
                        --------
           D I served the summons on (name ofindividual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date}                            ; or

           D I returned the summons unexecuted because                                                                              ; or

           D Other (specify):



           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjmy that this information is true.


 Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server's address

 Additional information regarding attempted service, etc:
               Case 2:24-cv-04027-SIL Document 6 Filed 06/07/24 Page 3 of 6 PageID #: 77

AO 440 (Rev. 06/ 12) SUllllllons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District of New York

                                                                    )
                                                                    )
      Yehuda (Jay) Adams, Individually                              )
                                                                    )
                               Plaintijf(s)
                                                                    )
                                                                    )
                                    V.
                                                                    )       Civil Action No.    2:24-cv-4027-SIL
MENAHEM MENDAL SANON, a/k/a MENDAL
                                                                    )
SANON, Individually, STEPHANIE ESTER                                )
SANON, a/k/a ESTER SANON, Individually, and                         )
PUR TECHNOLOGIES, INC., a Florida                                   )
Corporation           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address)
     PUR TECHNOLOGIES, INC., a Florida
     Corporation
   1108 Kane Concourse,
   Suite 201,
   Bay Harbor Islands, FL 33154



           A lawsuit has been filed against you.

        Within 21 days after service of this smnmons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Eecl. R. Civ.
P. 1 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
              Eric S. Landau
              Law Office of Eric S. Landau
              50 Fountain Plaza
              Suite 1400
              Buffalo, NY 14202
              718-440 -6723

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:        6/7/2024
                                                                                         Signature ofClerk or Deputy Clerk
               Case 2:24-cv-04027-SIL Document 6 Filed 06/07/24 Page 4 of 6 PageID #: 78

AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-04027-SIL

                                                        PROOF OF SERVICE
                       (This sectio11 should 11ot befiled with the court u11less required by F ed. R. Civ. P. 4 (1))

           This summons for (name ofindividual and title, if any)
 was received by me on (date)

           D I personally served the summons on the individual at (place)
                                                                                 on (date}                            ; or

           D I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date}                                , and mailed a copy to the individual's last known address; or
                        --------
           D I served the summons on (name ofindividual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date}                            ; or

           D I returned the summons unexecuted because                                                                              ; or

           D Other (specify):



           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjmy that this information is true.


 Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server's address

 Additional information regarding attempted service, etc:
PUR TECHNOLOGIES, INC., a Florida
                       Case 2:24-cv-04027-SIL Document 6 Filed 06/07/24 Page 5 of 6 PageID #: 79

        AO 440 (Rev. 06/ 12) SUllllllons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                          for the
                                                              Eastern District of New York

                                                                            )
                                                                            )
                                                                            )
           Yehuda (Jay) Adams, Individually                                 )
                                       Plaintijf(s)
                                                                            )
                                                                            )
                                            V.
                                                                            )       Civil Action No. 2:24-cv-4027-SIL
         MENAHEM MENDAL SANON, a/k/a MENDAL
          SANON, Individually, STEPHANIE ESTER
                                                                            )
         SANON, a/k/a ESTER SANON, Individually, and                        )
         PUR TECHNOLOGIES, INC., a Florida Corporation                      )
                                                                            )
                                      Defendant(s)                          )

                                                             SUMMONS IN A CIVIL ACTION

        TO: (Defendant's name and address)



            STEPHANIE ESTER Sanon
            608 88th St.
            Surfside, FL 33154

                   A lawsuit has been filed against you.

                Within 21 days after service of this smnmons on you (not counting the day you received it) - or 60 days if you
        are the United States or a United States agency, or an officer or employee of the United States described in Eecl. R. Civ.
        P. 1 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
        the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
        whose name and address are:
                         Eric S. Landau
                         Law Office of Eric S. Landau
                         50 Fountain Plaza
                         Suite 1400
                         Buffalo, NY 14202
                         718-440-6723

               If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
        You also must file your answer or motion with the court.

                                                                                      BRENNA B. MAHONEY
                                                                                      CLERK OF COURT


        Date:
                    6/7/2024
                                                                                                Signature ofClerk or Deputy Clerk
               Case 2:24-cv-04027-SIL Document 6 Filed 06/07/24 Page 6 of 6 PageID #: 80

AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-04027-SIL

                                                        PROOF OF SERVICE
                       (This sectio11 should 11ot befiled with the court u11less required by F ed. R. Civ. P. 4 (1))

           This summons for (name ofindividual and title, if any)
 was received by me on (date)

           D I personally served the summons on the individual at (place)
                                                                                 on (date}                            ; or

           D I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date}                                , and mailed a copy to the individual's last known address; or
                        --------
           D I served the summons on (name ofindividual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date}                            ; or

           D I returned the summons unexecuted because                                                                              ; or

           D Other (specify):



           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjmy that this information is true.


 Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server's address

 Additional information regarding attempted service, etc:
